    Case: 1:17-cv-01640 Document #: 93 Filed: 02/20/18 Page 1 of 2 PageID #:1948



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BILL A. BUSBICE, JR., an individual;
OLLAWOOD PRODUCTIONS, LLC, a
limited liability company; and ECIBSUB,
LLC, a limited liability company,

                      Plaintiffs,

           v.                                               Case No. 1:17-cv-1640

ADRIAN VUCKOVICH, an individual;                            Honorable Andrea R. Wood
COLLINS, BARGIONE & VUCKOVICH, a
partnership; and DOES 1 – 50, inclusive,                    JURY TRIAL DEMANDED

                      Defendants.

          DECLARATION OF LAUREN E. GROCHOW IN SUPPORT OF
     PLAINTIFFS’ MOTION TO COMPEL RESPONSES TO INTERROGATORIES

           I, Lauren E. Grochow, declare as follows:

    1. I am an attorney with the law firm of Troutman Sanders LLP, counsel for Plaintiffs

Bill A. Busbice, Jr., Ollawood Productions, LLC, and Ecibsub LLC (collectively, “Busbice”) in

this action. I have personal knowledge as to all matters set forth herein, and if called to testify as

a witness, I could and would do so. I submit this declaration in support of Plaintiffs’ Motion to

Compel Responses to Interrogatories.

    2. The parties met and conferred on February 14, 2018 regarding Defendant Collins,

Bargione & Vuckovich’s (“CBV”) failure to respond to Busbice’s First Set of Interrogatories.

During that call, counsel for CBV, Amir Tahmassebi stated that CBV would not be

supplementing its responses to Busbice’s interrogatories without a court order.

    3. On December 19, 2017, Busbice served interrogatories on CBV. A true and correct copy

of those interrogatories is attached hereto as Exhibit 1.




34123117
    Case: 1:17-cv-01640 Document #: 93 Filed: 02/20/18 Page 2 of 2 PageID #:1949



    4. On January 31, 2018, I wrote a letter to counsel for CBV to inquire about CBV’s past due

interrogatory responses. A true and correct copy of that letter is attached hereto as Exhibit 2.

    5. On February 5, 2018, after the deposition of Bridget Atherton, CBV’s bookkeeper, my

colleague Paul L. Gale inquired with Daniel Konicek, CBV’s lead counsel, as to the status of

CBV’s interrogatory responses. Mr. Konicek replied that he would have to defer to his partner,

Amir Tahmassebi, regarding the interrogatories.

    6. On February 5, 2018, I emailed Mr. Tahmassebi, inquiring about the status of CBV’s

responses to the interrogatories. That same day, I received a response from Sheila Jacobsen at

Mr. Tahmassebi’s office, informing me that “Mr. Tahmassebi is on trial this week. He will be in

contact with you to arrange for a call at the conclusion of the trial.” A true and correct copy of

the email chain is attached hereto as Exhibit 3.

    7. On February 6, 2018, CBV served its responses to Busbice’s First Set of Interrogatories.

A true and correct copy of those responses is attached hereto as Exhibit 4.

    8. On February 6, 2018, I sent CBV’s counsel a letter explaining that CBV had waived its

objections by serving untimely responses and that CBV’s responses were deficient. A true and

correct copy of this letter is attached hereto as Exhibit 5.

           I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 20, 2018 at Irvine, California.




                                                          /s/ Lauren E. Grochow
                                                         Lauren E. Grochow




                                                   -2-
34123117
